           Case 1:22-cv-03216-DEH Document 76 Filed 08/08/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                    Plaintiff,                          :
                                                                        :
                                    v.                                  : Civil Action
                                                                        : No. 22-cv-3216 (RA)
                                                                        :
MOSHE STRUGANO, and                                                     :
RINAT GAZIT,                                                            : PROPOSED ORDER
                                                                        :
                                    Defendants.                         :
                                                                        :
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         WHEREAS, on August 7, 2023, the Government submitted a motion seeking to intervene

in this action and to stay this matter in its entirety in light of the pendency of the parallel criminal

action United States v. Strugano, 22 Cr. 226 (PGG) (the “Criminal Case”), in which an indictment

has been returned; and

        WHEREAS, defendants Moshe Strugano and Rinat Gazit consent to the stay of this matter

in its entirety;

        WHEREAS, the Securities and Exchange Commission (“SEC”) takes no position on the

Government’s request to stay this matter in its entirety; and

        WHEREAS, the Court finds that a stay of this matter in its entirety is in furtherance of the

interests of justice and will not prejudice any party; it is hereby

        ORDERED that the Government’s motion to intervene is GRANTED. It is further

        ORDERED that this matter is stayed in its entirety until the completion of the Criminal

Case.

SO ORDERED.

                                                                        August 8, 2023
HONORABLE RONNIE ABRAMS                                                 DATE
UNITED STATES DISTRICT JUDGE
